97 F.3d 1448
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Jerry Wayne MOORE, Plaintiff-Appellant,v.COMMONWEALTH OF VIRGINIA;  Linwood T. Wells, Jr., AssistantAttorney General of Virginia;  County of Prince William,Virginia;  City of Manassas;  Paul Ebert, AssistantCommonwealth Attorney;  Wilson C. Garrison, Sheriff, PrinceWilliam County, Virginia;  David C. Mabie, Prince WilliamCircuit Court Clerk;  Prince William County PoliceDepartment;  Edward R. Fox, Commonwealth Attorney,Defendants-Appellees.
    No. 96-7073.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sept. 5, 1996.Decided Sept. 17, 1996.
    
      Jerry Wayne Moore, Appellant Pro Se.
      Before WIDENER and WILKINS, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. § 1983 (1988) complaint.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.   Moore v. Virginia, No. CA-96-884-AM (E.D. Va.  June 28, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    